

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-74,603-03






ANDRES HERRERA, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. F08-11091-R IN THE 265th  JUDICIAL DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed notice of appeal in the 265th Judicial District
Court of Dallas County from that court's order denying post-conviction DNA testing on July 16,
2011, but that the notice of appeal has not been forwarded to the court of appeals, and that the district
court has not taken any action on the notice.

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, stating whether Relator's notice of appeal from the order
denying DNA testing was timely received and filed, and if so, why the appellate record has not been
forwarded to the court of appeals as required by Rule 35.2(a) of the Texas Rules of Appellate
Procedure.  This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: March 28, 2012

Do not publish	


